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 Fill in this information to identify the case:

  Debtor 1       Diane Dixon

  Debtor 2

 United States Bankruptcy Court for the: Southern District of Florida

 Case number :    18-17662



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                         12/15
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to
your proof of claim at least 21 days before the new payment is due. See Bankruptcy Rule 3002.1.
     Name of               BANK OF AMERICA, N.A.                                                            Court claim no.                                       6
     creditor:                                                                                              (if known):
     Last 4 digits of any number                                                                            Date of payment change:                   02/01/2020
     you use to identify the debtor's                                        6307                           Must be at least 21 days after date of
     account:                                                                                               this notice

     Remediation has been completed and all credits/adjustments have been applied to account. To the        New total payment:                         $654.58
     extent any prior interest rate adjustments under the terms of the loan documents or prior escrow       Principal, interest, and escrow, if any
     adjustments were not noticed in this Court pursuant to Bankruptcy Rule 3002.1, after December 1,
     2011 or Petition Date (whichever is later), Carrington has refunded or credited the Debtor, as
     appropriate, to give the debtor the benefit of any lower payment amount as provided under the loan
     documents, escrow analysis, or a notice previously filed with this Court pursuant to Bankruptcy Rule
     3002.1. This does not constitute a modification of the payment obligations under the terms of the
     promissory note, mortgage, or other loan documents.


Part 1:      Escrow Account Payment Adjustment

1.    Will there be a change in the debtor's escrow account payment?
      [ ] No
       [X]    Yes. Attach a copy of the escrow account statement prepared in a form consistent with the applicable nonbankruptcy law.
                       Describe the basis for the change. If a statement is not attached, explain why:

                             Current escrow payment: $309.82                                 New escrow payment: $231.63

Part : 2      Mortgage Payment Adjustment

2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
   variable-rate account?

       [X] No
      [ ] Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a
                     notice is not attached, explain why:

                     Current interest rate:                                         New interest rate:
                     Current Principal and interest payment:                        New principal and interest payment:



Part 3:      Other Payment Change

3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
       [X] No
       [ ] Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                      agreement. (Court approval may be required before the payment change can take effect).
                      Reason for change:
                          Current mortgage payment:                                          New mortgage payment:




Official Form 410S1                                                     Notice of Mortgage Payment Change                                                         page 1
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Debtor 1 Diane Dixon                                                                  Case number (if known)           18-17662
                First Name              Middle Name           Last Name




Part 4:           Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

Check the appropriate box:


[]       I am the creditor.

[X]       I am the creditor's attorney or authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.


            /S/ Julian Cotton                                                                           01/08/2020
                                                                                            Date
    Signature



Print:                       Julian Cotton                                       Title Authorized Agent for Creditor

Company                      Padgett Law Group

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                   Email              bkcrm@padgettlawgroup.com




Official Form 410S1                                                   Notice of Mortgage Payment Change                           page 2
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                                      CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to the parties

                                                                                                  8th
on the attached Service List by electronic service and/or by First Class U.S. Mail on this the _________ day of

January, 2020.



                                                     /S/ Julian Cotton

                                                     ___________________________________
                                                     JULIAN COTTON
                                                     PADGETT LAW GROUP
                                                     6267 Old Water Oak Road, Suite 203
                                                     Tallahassee, FL 32312
                                                     (850) 422-2520 (telephone)
                                                     (850) 422-2567 (facsimile)
                                                     bkcrm@padgettlawgroup.com
                                                     Authorized Agent for Creditor




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                                   SERVICE LIST (CASE NO. 18-17662)

Debtor
Diane Dixon
17926 NW 40 Court
Opa Locka, FL 33055

Attorney
Maria Alvarez
Legal Services of Greater Miami,
Inc.
4343 West Flagler Street #100
Miami, FL 33134

Trustee
Nancy K. Neidich
POB 279806
Miramar, FL 33027

US Trustee
Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130




Official Form 410S1                    Notice of Mortgage Payment Change                 page 4
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                          CARRINGTON MORTGAGE SERVICES, LLC
                          P.O. Box 5001
                          Westfield, IN 46074


(800) 561-4567           FAX: (949) 517-5220




                                                                                                                                                 SLMR 7000216307




DIANE    DIXON
17926 NW 40TH CT
                                                                                DATE: 11/22/19
MIAMI GARDENS                 FL 33055




*** ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT - LAST CYCLES ESCROW ACCOUNT HISTORY                                                 ***

THIS HISTORY STATEMENT COMPARES YOUR PRIOR ANALYSIS CYCLE PROJECTED ESCROW ACTIVITY TO THE
ACTUAL ESCROW ACTIVITY BEGINNING FEBRUARY, 2019 AND ENDING JANUARY, 2020. IF YOUR LOAN
WAS PAID-OFF, ASSUMED, OR TRANSFERRED DURING THIS PRIOR CYCLE, OR THE COMPUTATION YEAR IS
BEING CHANGED, ACTUAL ACTIVITY STOPS AT THAT POINT. THIS STATEMENT IS INFORMATIONAL ONLY
AND REQUIRES NO ACTION ON YOUR PART.
                           - - - Y OUR PAY M E NT BR E AK DOW N AS OF F E BR UAR Y, 2 0 1 9 I S - - -
                           PRIN & INTEREST                                       422.95
                           ESCROW PAYMENT                                        265.66
                           TOTAL                                                 688.61
            -- PAYMENTS TO ESCROW --     -- PAYMENTS FROM ESCROW --               -- ESCROW BALANCE --
MONTH       PRIOR PROJECTED ACTUAL PRIOR PROJECTED DESCRIPTION ACTUAL DESCRIPTION PRIOR PROJECTED ACTUAL
                                                                      STARTING BALANCE  = = = >              788.44           3631.94-
FEB           265.66 *                            3.05        FLOOD GAP         3.05 FLOOD GAP               916.99           3769.05-
                                         0      134.06        HAZARD INS      134.06 HOMEOWNERS
MAR           265.66 *                            3.05        FLOOD GAP         3.05 FLOOD GAP              1045.54           3906.16-
                                         0      134.06        HAZARD INS      134.06 HOMEOWNERS
APR           265.66 *                            3.05        FLOOD GAP         3.05 FLOOD GAP              1174.09           4043.27-
                                         0      134.06        HAZARD INS      134.06 HOMEOWNERS
MAY           265.66 *                            3.05        FLOOD GAP         3.05 FLOOD GAP              1302.64           4180.38-
                                         0      134.06        HAZARD INS      134.06 HOMEOWNERS
JUN           265.66 *                            3.05        FLOOD GAP         3.05 FLOOD GAP              1431.19           4317.49- ALP
                                         0      134.06        HAZARD INS      134.06 HOMEOWNERS
JUL           265.66 *         1094.88            3.05 *      FLOOD GAP         3.05 FLOOD GAP              1559.74           4279.37-
                                         0      134.06        HAZARD INS       93.71 HOMEOWNERS
                                         0                                    960.00 FLOOD INSU
AUG           265.66 *          547.44             3.05   *   FLOOD GAP         3.05 FLOOD GAP               761.29           3828.69-
                                         0       134.06       HAZARD INS       93.71 HOMEOWNERS
                                         0       927.00       FLOOD INSU
SEP           265.66 *          340.20             3.05   *   FLOOD GAP            4.37    FLOOD GAP         889.84           3586.57-
                                         0       134.06       HAZARD INS          93.71    HOMEOWNERS
OCT           265.66 *          335.83             3.05   *   FLOOD GAP           93.71    HOMEOWNERS       1018.39           3351.97-
                                         0       134.06       HAZARD INS           7.52    FLOOD GAP
NOV           265.66                     E         3.05   *   FLOOD GAP            3.76    FLOOD GAP         531.32 TLP       4099.41-
                                         0       134.06       HAZARD INS         649.97    COUNTY TAX
                                         0       615.62       COUNTY TAX          93.71    HOMEOWNERS
DEC           265.66                     E         3.05       FLOOD GAP                                      659.87           4099.41-
                                         0       134.06       HAZARD INS
JAN           265.66                     E         3.05       FLOOD GAP                                      788.42           4099.41-
                                         0       134.06       HAZARD INS
TOT          3187.92           2318.35          3187.94                         2785.82
UNDER FEDERAL LAW, WHEN YOUR ACTUAL ESCROW BALANCE REACHES ITS LOWEST POINT, THAT BALANCE IS TARGETED
NOT TO EXCEED 1/6TH OF THE ANNUAL PROJECTED DISBURSEMENTS. YOUR LOAN DOCUMENTS OR STATE LAW MAY
SPECIFY THAT YOUR LOWEST BALANCE MUST BE A LOWER AMOUNT THAN THE FEDERAL LAW ALLOWS.
UNDER YOUR MORTGAGE CONTRACT OR STATE OR FEDERAL LAW, YOUR TARGETED LOW POINT ESCROW BALANCE
(TLP) WAS $531.32. YOUR ACTUAL LOW POINT ESCROW BALANCE (ALP) WAS $4,317.49-.
BY COMPARING THE PROJECTED ESCROW TRANSACTIONS WITH THE ACTUAL TRANSACTIONS YOU CAN
DETERMINE WHERE A DIFFERENCE MAY HAVE OCCURRED. AN ASTERISK (*) INDICATES A DIFFERENCE IN EITHER THE
AMOUNT OR DATE OF THE PROJECTED ACTIVITY AND THE ACTUAL ACTIVITY.
THE LETTER "E" BESIDE AN AMOUNT INDICATES THAT THE PROJECTED ACTIVITY HAS NOT YET OCCURRED DUE TO THE
DATE OF THIS STATEMENT.
IF THERE ARE NO PRIOR PAYMENTS TO OR FROM ESCROW SHOWN, THERE WAS NO PRIOR PROJECTION
TO WHICH THE ACTUAL ACTIVITY COULD BE COMPARED.
Your projected escrow balance consists of the following detail (an * next to an amount
indicates this is a total that represents more than one payment to or disbursement from escrow):

Escrow pay ments up to escrow analy sis effectiv e date:
08/17               $273.72          09/17           $273.72            10/17         $5,091.51       *




           ***     ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT - PROJECTIONS                                 ***
                PLEASE REVIEW THIS STATEMENT CLOSELY - YOUR MORTGAGE PAYMENT MAY BE AFFECTED.
THIS STATEMENT TELLS YOU OF ANY CHANGES IN YOUR MORTGAGE PAYMENT, ANY SURPLUS REFUNDS, OR
ANY SHORTAGE OR DEFICIENCY THAT YOU MUST PAY. IT ALSO SHOWS YOU THE PROJECTED ESCROW
A C T I V I T Y F O R Y O U R E S C R O W C Y C L E B E G I N N I N G F E B R U A R Y, 2 0 2 0 A N D E N D I N G J A N U A R Y, 2 0 2 1.
---------------------   PROJECTED PAYMENTS FROM ESCROW - FEBRUARY, 2020 THROUGH JANUARY, 2021                                   --------------
                           FLOOD GAP COVER                                         45.12
                           HOMEOWNERS INSU                                      1,124.52
                           FLOOD INSURANCE                                        960.00
                           COUNTY TAX                                             649.97

                           TOTAL                                                2,779.61
                           PERIODIC PAYMENT TO ESCROW                             231.63        (1/12 OF "TOTAL FROM ESCROW")

                                             * * * * CONTINUED ON NEXT PAGE * * * *
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                                              * * * * CONTINUATION * * * *



-------------------- PROJECT ED ESCROW ACT IVIT Y - FEBRUARY, 2020 T HROUGH JANUARY, 2021 -----------------------
               ---- PROJECTED PAYMENTS --                            -- ESCROW BALANCE COMPARISON --
MONTH          TO ESCROW       FROM ESCROW       DESCRIPTION        PROJECTED       REQUIRED
                                ACTUAL STARTING BALANCE = = = >      2,214.78         731.63
FEB,20        231.63                  3.76         FLOOD GAP COVER                   2,348.94              865.79
                                     93.71         HOMEOWNERS INSU
MAR,20        231.63                  3.76         FLOOD GAP COVER                   2,483.10              999.95
                                     93.71         HOMEOWNERS INSU
APR,20        231.63                  3.76         FLOOD GAP COVER                   2,617.26            1,134.11
                                     93.71         HOMEOWNERS INSU
MAY,20        231.63                  3.76         FLOOD GAP COVER                   2,751.42            1,268.27
                                     93.71         HOMEOWNERS INSU
JUN,20        231.63                  3.76         FLOOD GAP COVER                   2,885.58            1,402.43
                                     93.71         HOMEOWNERS INSU
JUL,20        231.63                  3.76         FLOOD GAP COVER                   3,019.74            1,536.59
                                     93.71         HOMEOWNERS INSU
AUG,20        231.63                  3.76         FLOOD GAP COVER                   2,193.90              710.75
                                     93.71         HOMEOWNERS INSU
                                    960.00         FLOOD INSURANCE
SEP,20        231.63                  3.76         FLOOD GAP COVER                   2,328.06              844.91
                                     93.71         HOMEOWNERS INSU
OCT,20        231.63                  3.76         FLOOD GAP COVER                   2,462.22              979.07
                                     93.71         HOMEOWNERS INSU
NOV,20        231.63                  3.76         FLOOD GAP COVER                   1,946.41 ALP          463.26 RLP
                                     93.71         HOMEOWNERS INSU
                                    649.97         COUNTY TAX
DEC,20        231.63                  3.76         FLOOD GAP COVER                   2,080.57              597.42
                                     93.71         HOMEOWNERS INSU
JAN,21        231.63                  3.76         FLOOD GAP COVER                   2,214.73              731.58
                                     93.71         HOMEOWNERS INSU

--------------------------------- DETERMINING THE SUFFICIENCY OF YOUR ESCROW BALANCE -----------------------------------

IF THE PROJECTED LOW POINT BALANCE (ALP) IS
GREATER THAN THE REQUIRED LOW POINT BALANCE (RLP) ,
THEN YOU HAVE AN ESCROW SURPLUS....                                            YOUR ESCROW SURPLUS IS....                1,483.15 *


AT THE TIME OF YOUR BANKRUPTCY FILING, YOUR ESCROW SHORTAGE INCLUDED IN THE POC (PROOF OF CLAIM) IS $0.00.


*The statement assumes all past due payments have been made toward your loan. If there are past due payments,
this amount may not be accurate.
PLEASE CALL THE ABOVE PHONE NUMBER REGARDING YOUR SURPLUS.

------------------------------------- CALCULATIONS OF YOUR NEW PAYMENT AMOUNT ------------------------------------------------
                          PRIN & INTEREST                                422.95 *
                          ESCROW PAYMENT                                 231.63
BORROWER PAYMENT STARTING WITH THE PAYMENT DUE           02/01/20       ==>              654.58

* IF YOUR LOAN IS AN ADJUSTABLE RATE MORTGAGE, THE PRINCIPAL & INTEREST PORTION OF
  YOUR PAYMENT MAY CHANGE WITHIN THIS CYCLE IN ACCORDANCE WITH YOUR LOAN DOCUMENTS.
NOTE :       YOUR ESCROW BALANCE MAY CONTAIN A CUSHION. A CUSHION IS AN AMOUNT OF MONEY
             HELD IN YOUR ESCROW ACCOUNT TO PREVENT YOUR ESCROW BALANCE FROM BEING OVERDRAWN
             WHEN INCREASES IN THE DISBURSEMENTS OCCUR. FEDERAL LAW AUTHORIZES A MAXIMUM
             ESCROW CUSHION NOT TO EXCEED 1/6TH OF THE TOTAL ANNUAL PROJECTED ESCROW
             D I S B U R S E M E N T S M A D E D U R I N G T H E A B O V E C Y C L E . T H I S A M O U N T I S $ 5 3 1 . 3 2.
             YOUR LOAN DOCUMENTS OR STATE LAW MAY REQUIRE A LESSER CUSHION. YOUR MORTGAGE
             CONTRACT AND STATE LAW ARE SILENT ON THIS ISSUE. WHEN YOUR ESCROW BALANCE
             REACHES ITS LOWEST POINT DURING THE ABOVE CYCLE, THAT BALANCE IS TARGETED
             TO BE YOUR CUSHION AMOUNT.
             Y O U R E S C R O W C U S H I O N F O R T H I S C Y C L E I S $ 4 6 3 . 2 6.
 YOUR PROJECTED ESCROW BALANCE CONSISTS OF THE FOLLOWING DETAIL (AN * NEXT TO AN AMOUNT INDICATES
 THIS IS A TOTAL THAT REPRESENTS MORE THAN ONE PAYMENT TO OR DISBURSEMENT FROM ESCROW):

 Escrow pay ments up to escrow analy sis effectiv e date:
 04/18         $335.83                05/18            $335.83               06/18        $5,841.23*

 Escrow disbursements up to escrow analy sis effectiv e date:
 11/19           $3.76      FLOOD GAP COVERAGE                               12/91              $93.71HOMEOWNERS
 12/19           $3.76      FLOOD GAP COVERAGE                               01/00              $93.71HOMEOWNERS
 01/20           $3.76      FLOOD GAP COVERAGE

IMPORTANT BANKRUPTCY NOTICE
If you have been discharged from personal liability on the mortgage because of bankruptcy
proceedings and have not reaffirmed the mortgage, or if you are the subject of a pending
bankruptcy proceeding, this letter is not an attempt to collect a debt from you but merely
provides informational notice regarding the status of the loan.  If you are represented by
an attorney with respect to your mortgage, please forward this document to your attorney.
CREDIT REPORTING
We may report information about your account to credit bureaus. Late payments, missed payments,
or other defaults on your account may be reflected in your credit report.  As required by law,
you are hereby notified that a negative credit report reflecting on your credit record may be
submitted to a credit reporting agency if you fail to fulfill the terms of your credit
obligations.
MINI MIRANDA
This communication is from a debt collector and it is for the purpose of collecting a debt and
any information obtained will be used for that purpose. This notice is required by the
provisions of the Fair Debt Collection Practices Act and does not imply that we are attempting
to collect money from anyone who has discharged the debt under the bankruptcy laws of the
United States.
HUD COUNSELOR INFORM AT ION
If you would like counseling or assistance, you may obtain a list of HUD-approved homeownership
counselors or counseling organizations in your area by calling the HUD nationwide toll-free
telephone number at (800) 569-4287 or toll-free TDD (800) 877-8339, or by going to
http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm. You can also contact the CFPB at (855) 411-2372, or
by going to www.consumerfinance.gov/find-a-housing-counselor.



                                          * * * * CONTINUED ON NEXT PAGE * * * *
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                       CARRINGTON MORTGAGE SERVICES
                       P.O. BOX 5001
                       Westfield, IN 46074


(800) 561-4567 FAX: (949) 517-5220




                                                                DATE: 11/22/19



       EQUAL CREDIT OPPORTUNITY ACT NOTICE
       The Federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit
       applicants on the basis of race, color, religion, national origin, sex, marital status, or age
       (provided the applicant has the capacity to enter into a binding contract); because all or part
       of the applicant’s income derives from any public assistance program; or because the applicant
       has, in good faith, exercised any right under the Consumer Credit Protection Act. The Federal
       Agency that administers CMS’ compliance with this law is the Federal Trade Commission, Equal
       Credit Opportunity, Washington, DC 20580.
